             Case 1:20-cr-00173-JLT-SKO Document 6 Filed 09/23/20 Page 1 of 1

                                                                                         FILED
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 2
            SEALED                                                                       Sep 23, 2020
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF CALIFORNIA


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                                  IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00104 EPG

12                                 Plaintiff,             UNDER SEAL

13                           v.                           ORDER PERMITTING REDACTED COMPLAINT
                                                          TO BE DISSEMINATED TO DEFENDANT AND
14   Jesus Alberto GONZÁLEZ-BURGOS,                       COUNSEL

15                                  Defendant.

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17           The United States having applied to this Court for a complaint and arrest warrant in the above-

18   captioned proceedings and having applied for the complaint and warrant to remain under seal in order to

19   prevent the destruction of evidence and flight of the targets of the investigation, the above defendant

20   having been arrested, but other defendants in a related still remaining at large;

21           IT IS ORDERED that the redacted complaint attached to the government’s Application To

22   Permit Dissemination of Redact Complaint filed in the above-entitled matter is authorized to be

23   disseminated to the defendant and counsel, and other Court personnel as needed, pending further order

24   of this court.

25    Dated: September 23, 2020

26                                                            HONORABLE ERICA P. GROSJEAN
                                                              U.S. MAGISTRATE JUDGE
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       ORDER PERMITTING REDACTED COMPLAINT TO BE          1
       DISSEMINATED
